                                            _______________________________
   Case 2:19-cr-00889-CCC Document 1 Filed 04/29/19 Page 1 of 5 PageID: 33




                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA            :   Hon. James B. Clark, III

           v.                        :   Mag. No. 19-3 145

 RAYMOND SCURA                       :   CRIMINAL COMPLAINT



      I, Thomas R. Regina, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                            SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this Complaint is based on the following facts:

                            SEE ATTACHMENT B

continued on the attached pages and made a part hereof.




                                    Thomas R. R      ma Special Agent
                                    Federal Bure        nvestigation


Sworn to and subscribed in my presence, ESSEX COUNTY, NEW      JERSEY
This 29th day of April 2019             County and State

HONORABLE JAMES B. CLARK, III
UNITED STATES MAGISTRATE JUDGE              Sigirmre of Judicial Officer
     Case 2:19-cr-00889-CCC Document 1 Filed 04/29/19 Page 2 of 5 PageID: 34




                                 ATTACHMENT A

                                  COUNT ONE
                               (Hobbs Act Robbery)

      On or about February 28, 2019, in Essex County, in the District of New
Jersey and elsewhere, the defendant,

                               RAYMOND SCURA,

did knowingly and willfully obstruct, delay, and affect, and attempt to obstruct,
delay, and affect, commerce and the movement of articles and commodities in
commerce, by robbery, and committed and threatened physical violence to
persons and property in furtherance thereof.

       In violation of Title 18, United States Code, Section 195 1(a) and Section
2.
   Case 2:19-cr-00889-CCC Document 1 Filed 04/29/19 Page 3 of 5 PageID: 35




                                 COUNT TWO
        (Use of a Firearm During and in Relation to a Crime of Violence)

      On or about February 28, 2019, in Essex County, in the District of New
Jersey and elsewhere, the defendant,

                               RAYMOND SCURA,

during and in relation to a crime of violence for which the defendant may be
prosecuted in a court of the United States, specifically, the robbery charged in
Count One of this Criminal Complaint, did knowingly use and carry a firearm,
which was brandished.

      In violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and
Section 2.
   Case 2:19-cr-00889-CCC Document 1 Filed 04/29/19 Page 4 of 5 PageID: 36




                                    ATTACHMENT B

       I, Thomas R. Regina, am a Special Agent with the Federal Bureau of
Investigation (“FBI”). I am fully familiar with the facts set forth herein based on
my own investigation, my conversations with other law enforcement officers,
and my review of reports, documents, and items of evidence. Where
statements of others are related herein, they are related in substance and part.
Because this complaint is being submitted for a limited purpose, I have not set
forth each and every fact that I know concerning this investigation. Where I
assert that an event took place on a particular date, I am asserting that it took
place on or about the date alleged.

       1.    The FBI is investigating an armed robbery that took place on or
about February 28, 2019, in Essex County, New Jersey. To date, the
investigation has included but is not limited to witness interviews, a review of
surveillance footage, bank records, and other evidence.

      2.    At all times relevant to this Criminal Complaint, the “Victim”
owned and operated an internet-based business (the “Business”) that engaged
and affected interstate and foreign commerce.

      3.   In or around February 2019, defendant Raymond Scura (“SCURA”)
was a customer of the Business.

      4.     In or around February 2019, SCURA wrote a fraudulent check
(“Check 1”) to the Victim for services rendered by the Business. The Victim
attempted to deposit the check but learned that the account underlying the
check written by SCURA did not exist and therefore had no assets.

      5.     Soon thereafter, SCURA and the Victim met at a location in Essex
County, New Jersey (“Location 1”). SCURA wrote a second fraudulent check
(“Check 2”) to the Victim for services rendered by the Business. The Victim
refused to accept Check 2 and insisted that SCURA pay in cash.

       6.   SCURA and the Victim then drove together from Location 1 to a
bank (the “Bank”) in Essex County, New Jersey. Outside of the Bank, SCURA
brandished a firearm and demanded that the Victim deposit a third fraudulent
check (“Check 3”) into the Victim’s account and withdraw it for SCURA.
SCURA stated, in sum and substance, “You’re going to listen to what I say.
You’re going to put this.   check into your account and then you’re going to
                            .   .




take [the money] out of your account. Don’t tell anybody or I will go to your
house and kill you and your family.”

     7.   SCURA subsequently led the Victim to an ATM inside the Bank,
where SCURA directed the Victim to insert the Victim’s banking card. SCURA
  Case 2:19-cr-00889-CCC Document 1 Filed 04/29/19 Page 5 of 5 PageID: 37




then asked the Victim for the Victim’s PIN, entered the PIN himself, and
deposited Check 3 into the ATM.

      8.   SCURA then led the Victim to a teller window at the Bank to
withdraw the same amount of money as set forth in Check 3.

      9.    SCURA and the Victim left the Bank, where SCURA again
brandished the firearm and demanded that the Victim hand over the cash
withdrawn at the Bank. The Victim complied.

      10.   In or around March 2019, SCURA sent the Victim approximately
$3,000 over internet-based payment services through a third-party account.
